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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


     In re:                                                         Chapter 11

     IMPEL PHARMACEUTICALS INC., et al. 1                           Case No. 23-80016 (SGJ)

                              Debtors.                              (Joint Administration Requested)
                                                                    (Emergency Hearing Requested)

                       DEBTORS’ MOTION FOR ENTRY OF AN ORDER
           (I)(A) APPROVING THE BID PROCEDURES; (B) AUTHORIZING THE
     DEBTORS TO SELECT JN BIDCO LLC AS THE STALKING HORSE PURCHASER
          SUBSTANTIALLY ALONG THE TERMS DEFINED IN THE STALKING
                     HORSE APA AND APPROVING BID PROTECTIONS;
                  (C) ESTABLISHING BID DEADLINES, AN AUCTION, AND
         A SALE HEARING; (D) APPROVING THE FORM AND MANNER OF SALE
       NOTICE; (E) APPROVING ASSIGNMENT AND ASSUMPTION PROCEDURES;
     (F) APPROVING THE FORM AND MANNER OF POTENTIAL ASSUMPTION AND
     ASSIGNMENT NOTICE; (II)(A) AUTHORIZING THE SALE OF THE ASSETS FREE
        AND CLEAR; AND (B) APPROVING THE ASSUMPTION AND ASSIGNMENT
         OF DESIGNATED CONTRACTS; AND (III) GRANTING RELATED RELIEF



 1
  The Debtors in this chapter 11 case, together with the last four digits of the Debtor’s federal tax identification number,
 are: Impel Pharmaceuticals Inc. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’ service
 address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
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        The debtors and debtors in possession in the above-captioned chapter 11 cases

 (collectively, the “Debtors”) state as follows in support of this motion:

                                          Relief Requested

        1.      The Debtors seek entry of an order, substantially in the form attached hereto (the

 “Bid Procedures Order”):

                a.      approving the proposed bid procedures attached to the Bid Procedures
                        Order as Exhibit 1 (the “Bid Procedures”) in connection with the Sale (as
                        defined below) of the Assets (as defined below);

                b.      authorizing the Debtors’ to select JN Bidco LLC or its designee as the
                        Stalking Horse Purchaser substantially along the terms defined in the Asset
                        Purchase Agreement Between Impel Pharmaceuticals Inc. and JN Bidco
                        LLC (the “Stalking Horse APA”), attached as Exhibit 2 to the Bid
                        Procedures Order;

                c.      Authorizing and approving, if and to the extent payable pursuant to the
                        terms of the Bid Procedures and the Stalking Horse APA, (i) a break-up fee
                        (the “Break-up Fee” equal to $450,000 (i.e. approximately 2.6 % of the
                        $17.5 million purchase price)); and (ii) the reimbursement from the Debtors
                        of reasonable, documented out of pocket fees, costs, and expenses of the
                        Stalking Horse Bid (as defined below) up to an amount equal to $300,000,
                        in each of (i) and (ii), as more fully set forth in the Stalking Horse APA (the
                        “Expense Reimbursement” and together with the Break-Up Fee, the “Bid
                        Protections”);

                d.      establishing the dates and deadlines relating to the Bid Deadline, an auction
                        for the Sale (the “Auction”), and, if necessary, a hearing to consider
                        approval of the Sale (the “Sale Hearing”);

                e.      approving the form of notice of the Sale, the Bid Deadline, the Auction, and
                        the Sale Hearing, substantially in the form attached to the Bid Procedures
                        Order as Exhibit 3 (the “Sale Notice”);

                f.      approving the assumption and assignment procedures attached to the Bid
                        Procedures Order as Exhibit 4 (the “Assumption and Assignment
                        Procedures”) for any executory contract or unexpired lease to be assumed
                        by the Debtors and assigned to the bidder who submitted the highest or
                        otherwise best bid (the “Winning Bidder”) pursuant to section 365 of the
                        Bankruptcy Code (defined below) (if any) (the “Designated Contracts”);




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                g.      approving the form of notice to each non-Debtor counterparty to Designated
                        Contracts (if any), substantially in the form attached to the Bid Procedures
                        Order as Exhibit 5 (the “Assignment Notice”); and

                h.      granting related relief.

        2.      In the event the Debtors determine to pursue consummation of a Sale in accordance

 with the Bid Procedures, the Debtors further seek entry of an order authorizing and approving

 (a) the sale of the Assets free and clear of all pledges, liens, security interests, encumbrances,

 claims, charges, options, and interests except to the extent otherwise set forth in the purchase

 agreement executed by the Debtors and the Winning Bidder, (b) the assumption and assignment

 of Designated Contracts (if any), and (c) granting related relief (the “Sale Order”).

                                      Jurisdiction and Venue

        3.      The United States Bankruptcy Court for the Northern District of Texas (the

 “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a core

 proceeding pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent, pursuant to rule

 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the Court’s entry

 of a final order in connection with this motion.

        4.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        5.      The bases for the relief requested herein are sections 105(a) and 363 of chapter 11

 of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules 6003 and 6004,

 and Section E of the Procedures for Complex Chapter 11 Cases in the Northern District of Texas

 (the “Complex Procedures”).

                                             Background

        6.      Impel Pharmaceuticals Inc. (“Impel”) is a commercial-stage biopharmaceutical

 company with a mission to develop transformative therapies for people suffering from diseases



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 with high unmet medical needs, including the acute treatment of migraine headaches via Impel’s

 flagship drug—Trudhesa.

           7.     On December 19, 2023 (the “Petition Date”), each Debtor filed a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code. A detailed description of the Debtors and their

 business, including facts and circumstances giving rise to these chapter 11 cases is set forth in the

 First Day Declaration, 2 filed contemporaneously with this motion and incorporated by reference

 herein.

           8.     The Debtors are operating their business and managing their properties as debtors

 in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Concurrently with

 the filing of this motion, the Debtors have requested procedural consolidation and joint

 administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b). No party has

 requested the appointment of a trustee or examiner in these cases, and no statutory committee has

 been appointed.

                         Declining Liquidity and Failed Efforts to Sell the Company

           9.     Since its inception, Impel has incurred losses from operations and generated

 negative cash flows from operating activities. In 2022, Impel achieved 55% of its corporate sales

 goals and the trend continued into the first half of 2023. Impel has therefore been dependent on

 its ability to raise additional capital to continue business operations. See First Day Declaration

 ¶ 54.

           10.    As more fully detailed in the First Day Declaration, Impel has consummated a

 number of successful capital raise efforts. See First Day Declaration ¶ 51. Impel has raised a total



 2
  Capitalized terms used but not otherwise defined in this motion shall have the meanings ascribed to them in the
 Declaration of Brandon Smith, Chief Restructuring Officer of the Debtors, in Support of Chapter 11 Proceedings (the
 “First Day Declaration”).

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 of $405.3 million in proceeds from issuance of its common stock, proceeds pursuant to the RIFA

 (as defined in the First Day Declaration), sale and issuance of redeemable convertible preferred

 stock, convertible notes, debt, and warrants as of September 30, 2023. See First Day Declaration

 ¶ 56.

         11.    Beginning in August 2022, Impel began talks with a potential strategic purchaser

 of Impel’s assets. Those discussions continued until approximately January 2023 and the potential

 acquirer submitted a letter of intent to acquire Impel. However, as discussions continued, the

 potential acquirer terminated discussions and the transaction did not close.        See First Day

 Declaration ¶ 57.

         12.    At the time of the collapse of the contemplated sale, Impel had less than 12 months

 of cash on hand. Impel’s Board determined to pursue an additional round of financing to meet

 liquidity needs in September 2022. See First Day Declaration ¶ 58. After extensive discussions

 and consideration of several presentations from Impel’s advisors, the Board determined that it was

 in the best interest of Impel to continue investing in sales and marketing efforts to support growth

 of Trudhesa and demonstrate the attractiveness of the product to potential financing sources and

 strategic partners. See First Day Declaration ¶ 59.

         13.    In June 2023, Impel and its advisors progressed in its financing search with a

 number of interested parties. However, the indications of interests were contingent on finding a

 “lead” investor.    When none materialized, the Debtors were ultimately unable to secure

 incremental financing. See First Day Declaration ¶ 60.

         14.    In July 2023, Impel was not in compliance with the minimum liquidity covenant of

 its Senior Credit Documents (as defined in the First Day Declaration). As such, in July 2023, the

 Board met to consider next steps to address the ongoing liquidity crisis. In August 2023, Impel’s



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 cash flow forecast indicated that its liquidity runway would run out by the first week of September

 2023, particularly in light of lower than expected net sales of Trudhesa, tightening of the equity

 markets, and declining stock prices. The Board instructed management to engage advisors and

 establish a process whereby Impel and its advisors would review and evaluate various strategic

 alternatives available to the Company so that the Company could maintain its optionality while

 preserving assets and maximizing value for creditors and other parties in interest. See First Day

 Declaration ¶ 63–64.

        15.     On August 7, 2023, the Board engaged Teneo, to serve as financial advisor to

 Impel. On August 16, 2023, Impel engaged Sidley Austin LLP (“Sidley Austin”), as legal counsel,

 to assist it in evaluation of potential restructuring transactions, including through a section 363

 sale, strategic alternative process, or the amendment of its existing debt. On September 15, 2023,

 the Board approved the retention of Moelis & Company LLC (“Moelis”), as investment banker,

 to assist in marketing the Debtors’ assets and soliciting potential purchasers. See First Day

 Declaration ¶ 65.

        16.     Given Impel’s liquidity position, the Board tasked Impel’s management team and

 advisors with the evaluation of all strategic alternatives, including potential bridge financing,

 alternative capital raises, and a sale of the Debtors’ assets so that Impel could maintain its

 optionality while preserving assets and maximizing value for creditors and other parties in

 interests. See First Day Declaration ¶ 66.

                                The Debtors’ Marketing Process

        17.     The Debtors, in consultation with Moelis, launched a prepetition marketing process

 for a sale of substantially all of the Debtors’ assets (the “Assets”) under section 363 of the

 Bankruptcy Code (the “Sale”) on September 19, 2023. The Debtors conducted a robust prepetition

 marketing process (the “Marketing Process”) primarily run by Moelis. Prior to the Petition Date,
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 Moelis contacted approximately 93 potential purchasers. Of those ninety-three (93) potential

 purchasers, twenty-two (22) parties entered into nondisclosure agreements with the Debtors in

 order to gain access to the virtual data room. Moelis shared teasers, a confidential information

 memorandum, financial models, other related financial and operational information, and a process

 letter with potential bidders. Relevant information regarding the Debtors’ business has been made

 available in the virtual data room, which includes more than 1,200 files comprising more than

 46,500 pages of diligence. The process letter provided to potential bidders included a deadline to

 submit an initial non-binding proposal by November 8, 2023. Two (2) parties made non-binding

 offers by this bid deadline, two (2) additional parties submitted proposals following the bid

 deadline but prior to the Petition Date, and each of these parties engaged in negotiations and further

 diligence on a potential purchase. Several additional parties articulated a desire to monitor the

 Debtors’ in-court sale process and re-engage on a potential purchase. No additional parties have

 come forward with a proposal since the bid deadline.

        18.     After extensive discussions with potential purchasers and engaging with their key

 stakeholders, the Debtors, in an exercise of their business judgment, named JN Bidco LLC as

 stalking horse bidder for the Assets (the “Stalking Horse Purchaser”), on the terms and subject to

 the conditions more fully described under the Stalking Horse APA attached to the proposed Bid

 Procedures Order as Exhibit 2 (the “Stalking Horse Bid”) and in paragraphs 27 and 29 below.

        19.     The Marketing Process was robust and appropriate to identify potential bidders for

 the Assets and, at this juncture, entry into the Stalking Horse Bid presents the best means to achieve

 the best available value of the Debtors’ estates for all stakeholders. See Contractor Declaration (as

 defined below) at ¶ 12. Moelis continues to engage with additional potential bidders, and will




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 continue to do so until a transaction for a sale of a material portion of the Debtors’ assets (a “Sale

 Transaction”) is approved by this Court. Id.

                                The Bid Procedures and Sale Notice

        20.     The Debtors seek approval of the Bid Procedures, attached to the Bid Procedures

 Order as Exhibit 1, to establish a clear and open process for the solicitation, receipt, and evaluation

 of bids on a timeline that would allow the Debtors to consummate a sale of the Assets. The Debtors

 are seeking approval of a sale prior to February 12, 2024.

        21.     The Bid Procedures set forth: (a) the requirements for participation in the bidding

 and sale process, including the criteria to be designated as a Qualified Bid (as defined in the Bid

 Procedures and to include the Stalking Horse Bid), (b) the process for the submission and

 evaluation of bids, (c) the requirements for participation in, and rules governing the conduct of,

 the Auction, (d) the process for approval of the Sale of the Assets to the Winning Bidder and the

 designation of a Backup Bidder (as defined in the Bid Procedures), and (e) all related dates and

 deadlines.

        22.     The Bid Procedures recognize and comport with the Debtors’ fiduciary obligations

 to maximize sale value, do not impair the Debtors’ ability to consider all Qualified Bids made at

 or prior to the Auction, and preserve the Debtors’ right to modify the Bid Procedures as necessary

 or appropriate to maximize value for the Debtors’ estate. See Declaration of Ashish Contractor in

 Support of the Debtors’ Motion for Entry of an Order (I)(A) Approving the Bid Procedures; (B)

 Authorizing the Debtors to select JN Bidco LLC as the Stalking Horse Purchaser Substantially

 Along the Terms Defined in the Stalking Horse APA and Approving Bid Protections;

 (C) Establishing Bid Deadlines, an Auction, and a Sale Hearing; (D) Approving the Form and

 Manner of Sale Notice; (E) Approving Assignment and Assumption Procedures; (F) Approving

 the Form and Manner of Potential Assumption and Assumption Notice; (II)(A) Authorizing the
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 Sale of the Assets Free and Clear; and (B) Approving the Assumption and Assignment of

 Designated Contracts; and (III) Granting Related Relief attached hereto as Exhibit B. (the

 “Contractor Declaration”) at ¶ 13–20.

            23.      The Debtors urge that a prompt schedule for the sale of the Assets be established in

 these chapter 11 cases in order to maximize the value of the Debtors’ estates. See Contractor

 Declaration at ¶ 18–19. Accordingly, the proposed Bid Procedures provide the following timeline

 for the marketing and bid process for each of the propose of the proposed Sale Transaction as

 follows:

                                       SALE TRANSACTION MILESTONES

                  EVENT OR DEADLINE                                            DATE AND TIME
                                                                     (ALL IN PREVAILING CENTRAL TIME)
     Petition Date                                           P = 0 (Tuesday, December 19, 2023)
     Bid Procedures Objection Deadline                       7 days prior to the hearing to approve the Bid
                                                             Procedures, at 4:00 pm CT
     Initial Cure Notice Deadline                            P + 17 (January 5, 2024)
     Bid Procedures Hearing                                  P + 22 (January 10, 2024) at [TBD]
     Service and Publication of Sale Notice                  1 business day after entry of the Bid Procedures
                                                             Order or as soon as reasonably practicable
                                                             thereafter
     Bid Deadline 3                                          P + 35 (January 23, 2024) at 4:00 pm
     Sale Objection Deadline                                 P + 37 (January 25, 2024) at 4:00 pm
     Cure Objection Deadline                                 P + 38 (January 26, 2024) at 4:00 pm
     Determination of Qualified Bids                         As soon as reasonably practicable following the
                                                             Bid Deadline
     Auction (if necessary)                                  P + 41 (January 29, 2024) at 9:00 am
     Deadline to File Notice of Winning Bid                  As soon as reasonably practicable following the
                                                             Auction
     Post-Auction Objection Deadline                         P + 42 (January 30, 2024) at 4:00 pm
     Sale Hearing                                            P + 44 (February 1, 2024) at [TBD]
     Anticipated Closing Date                                P + 55 (February 12, 2024)

            24.      The Debtors have an urgent need to sell the Assets quickly and efficiently. The

 Budget attached as Exhibit 1 to the proposed interim order filed with the Debtors’ Emergency


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     The Debtors reserve their right, in their own discretion, to move the deadline for the submission of qualified bids.

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 Motion for Entry of Interim and Final Orders Authorizing the Use of Cash Collateral;

 (II) Granting Adequate Protection to Prepetition Term Loan Secured Parties; (III) Modifying

 Automatic Stay; (IV) Scheduling a Final Hearing; and (V) and Granting Related Relief filed

 contemporaneously herewith projects that, without the proceeds from the sale to the Stalking Horse

 Bid, the Debtors will deplete their remaining cash on hand by approximately the end of March.

 As a result, the Debtors are seeking approval of an expedited timeline for the Sale in an effort to

 ensure that the Debtors have sufficient cash reserves to reach consummation of the Sale.        The

 approximately five (5)-week postpetition marketing and bid process strikes an appropriate balance

 under the facts that exist here, including that the Debtors have extensively marketed the Assets

 prior to these chapter 11 cases and that the Debtors entered into the Stalking Horse APA with the

 Stalking Horse Purchaser to establish a floor for the purchase price of the Assets. Id. ¶ 19.

        25.     The Debtors also request approval of the Sale Notice, substantially in the form

 attached to the Bid Procedures Order as Exhibit 3. The Debtors propose to serve the Sale Notice

 on all known parties-in-interest in the chapter 11 case, and publish the sale notice on the Debtors’

 claims, noticing, and solicitation agent’s website for the case. The Debtors submit that service of

 the Sale Notice as set forth in the Bid Procedures is proper and sufficient to provide notice of the

 Auction, the deadline to object to the Sale Transaction, the deadline to object to the Cure Amounts,

 the deadline to object to the assumption and assignment of any desired contracts, and the Sale

 Hearing to all known and unknown parties.

                           Stalking Horse Bidder and Bid Protections

        26.     The Debtors and the Stalking Horse Purchaser have agreed upon the Stalking Horse

 APA, attached to the proposed Bid Procedures Order as Exhibit 2, whereby the Stalking Horse

 Purchaser will purchase the Assets. The Debtors submit that the Stalking Horse APA promotes



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 competitive bidding and maximization of the value of the Assets by establishing a baseline bid in

 connection with the Bid Procedures. See Contractor Declaration ¶ 24.

            27.   The material terms of the Stalking Horse APA are summarized in the following

 table: 4

                                   SUMMARY OF STALKING HORSE APA
     Parties               The Stalking Horse APA is entered into by and between JN Bidco LLC
                           (“Buyer”) and Impel Pharmaceuticals Inc. (the “Seller”).
     Purchase Price        At the Closing, Buyer will pay to Seller an amount equal to US $17,500,000.
                           (the “Purchase Price”).
     (Stalking Horse
     APA, Section 2.9)     For purposes of calculating the Break-Up Fee as a percentage of the Purchase
                           Price, the Purchase Price includes only the $17,500,000 upfront purchase
                           price and excludes any post-closing contingent consideration, which likely
                           has significant option value.

                           As provided by Section 2.13 of the Stalking Horse APA, the Buyer is provided
                           certain Additional Consideration, including Earn-out Payments, both as
                           defined by the Stalking Horse APA. These Earn-out Payments include:
                               • Ten percent (10%) of the amount, if any, by which the annual products
                                   Product Net Sales (as defined in the Stalking Horse APA) for each
                                   fiscal year exceeds $20,000,000 but are less than or equal to
                                   $45,000,000 during each fiscal year of the Earn-out Period (as defined
                                   in the Stalking Horse APA);
                               • Fifteen percent (15%) of the amount, if any, by which the annual
                                   Product Net Sales for each fiscal year exceeds $45,000,000 during
                                   each fiscal year of the Earn-out Period;
                               • A $4,000,000 one-time payment when the annual Product Net Sales
                                   equal or exceed $65,000,000 for a fiscal year during the Earn-out
                                   Period; and a $8,000,000 one-time payment when the annual Product
                                   Net Sales equal or exceed $100,000,000 for a fiscal year during the
                                   Earn-out Period.
     Purchased Assets      As more fully detailed in the Stalking Horse APA attached hereto, the
                           Transferred Assets consist of the following assets, properties and rights of
     (Stalking Horse       Seller and its Subsidiaries:
     APA, Section 2.1)     • The Trudhesa Assets;
                           • The POD Technology Assets;
                           • all supplies and other inventories Used in the Business;
                           • to the extent transferable, the Seller Permits (including any applications
                               that are in process) Used in the Business;

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   The following summary is provided for convenience purposes only. All capitalized terms that are used in this
 summary but not otherwise defined herein shall have the meanings ascribed such terms in the Stalking Horse APA
 attached to the Bid Procedures Order as Exhibit B. To the extent any of the terms below are inconsistent with the
 Stalking Horse APA, the Stalking Horse APA shall control in all respects.

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                               SUMMARY OF STALKING HORSE APA
                      •   all Contracts to which a member of the Seller Group is a party and which
                          are Used in the Business, all of which are listed on Schedule 2.1(e) to the
                          Stalking Horse APA excluding Contracts that expire or are terminated
                          prior to the Closing and all Designated Contracts that Purchaser elects to
                          assume pursuant to Section 5.3(b) of the Stalking Horse APA;
                      •   all material original books and records, documents, data and information
                          of the Seller Group solely related to the Business, other than the Excluded
                          Books and Records; provided, however, that the Seller Group shall be
                          entitled to retain copies of any such materials;
                      •   all rights to receive mail and other correspondences and communications
                          (including electronic mail) addressed to Seller relating solely to the
                          Product (including any such mail and other correspondence and
                          communications (including electronic mail) from the FDA or any other
                          Governmental Authority, customers, advertisers, suppliers, distributors,
                          agents and others and payments with respect to the Product);
                      •   the Owned Intellectual Property Assets, including that Intellectual
                          Property set forth on Schedule 2.1(g) and all (i) royalties, fees, income,
                          payments, and other proceeds now or hereafter due or payable to any
                          member of the Seller Group with respect to such Intellectual Property,
                          and (ii) claims and causes of action with respect to such Intellectual
                          Property, whether accruing before, on, or after the Agreement Date,
                          including all rights to and claims for damages, restitution, and injunctive
                          and other legal or equitable relief for past, present, or future infringement,
                          misappropriation, or other violation thereof;
                      •   all equipment, and other tangible personal property, including carts,
                          dollies, office furniture and fixtures, computers, security systems,
                          telephone and internet equipment and maintenance equipment and
                          supplies, Used in the Business and owned by the Seller Group listed on
                          Schedule 2.1(h):
                      •   all of the Seller Group’s rights, claims or causes of action against third
                          parties relating to the assets, properties, business or operations of the
                          Seller Group with respect to the Business, the Transferred Assets and the
                          Assumed Liabilities (including all guaranties, warranties, indemnities and
                          similar rights in favor of the Seller Group or any their Affiliates to the
                          extent solely related to the Transferred Assets or the Assumed Liabilities),
                          in each case, whether arising by way of counterclaim or otherwise, and
                          whether arising out of transactions occurring prior to, on or after the
                          Closing Date, except for such rights, claims and causes of related to the
                          Excluded Assets or Excluded Liabilities;
                      •   all prepaid expenses, claims, deposits, prepayments, refunds, causes of
                          action, demands, actions, suits, choses in action, rights of recovery, rights
                          under guarantees, warranties, indemnities and all similar rights against
                          third parties, rights of setoff and rights of recoupment, in each case, to the
                          extent used in or held for use for the Transferred Assets listed in the
                          clauses above or the Assumed Liabilities;
                      •   all accounts receivable, intercompany obligations and other amounts
                          receivable by the Seller Group; and

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                               SUMMARY OF STALKING HORSE APA
                      •   all inventory of the Seller Group.

 Excluded Assets      Notwithstanding anything to the contrary set forth in this Agreement or in any
                      of the other Transaction Documents, the Parties expressly acknowledge and
 (Stalking Horse      agree that nothing in this Agreement shall be construed to obligate any Seller
 APA, Section 2.2)    to Transfer to Buyer any assets, properties or rights of Seller other than the
                      Transferred Assets, that are not listed in Section 2.1 of the Stalking Horse
                      APA, including the following (the “Excluded Assets”), which shall be
                      excluded from the Transferred Assets. The Excluded Assets of the Stalking
                      Horse APA, include, but are not limited to:
                      • all (i) cash and cash equivalents, wherever located, including bank
                          balances and bank accounts or safe deposit boxes, monies in the
                          possession of any banks, savings and loans or trust companies and similar
                          cash items, (ii) escrow monies and deposits in the possession of landlords
                          and utility companies, and (iii) investment securities and other short- and
                          medium-term investments;
                      • all records, documents or other information exclusively relating to current
                          or former employees of the Seller Group that are not hired by Purchaser,
                          and any materials to the extent containing information about any
                          employee, disclosure of which would violate Applicable Law or such
                          employee’s reasonable expectation of privacy;
                      • any interest of the Seller Group under this Agreement or the Related
                          Documents, including the right to receive the Purchase Price and to
                          enforce the Seller’s rights and remedies thereunder;
                      • all Excluded Contracts (including all prepaid assets relating to the
                          Excluded Contracts), other than the Assigned Contracts, to which any
                          member of the Seller Group or any of their respective Affiliates is a party;
                      • any (i) Attorney-Client Information arising from communications prior to
                          the Closing Date between a member of the Seller Group (including any
                          one or more officers, directors or stockholders of such Seller Group
                          member), on the one hand, and its counsel, on the other hand, and
                          (ii) claims under any director and officer, errors and omissions, fiduciary
                          and commercial crime insurance policies;
                      • any rights of the Seller Group to Asset Tax refunds (or credits for
                          overpayment of Taxes in lieu of a refund) attributable to any Pre-Closing
                          Tax Period;
                      • all Permits (including applications therefor and any trade or import/export
                          Permits) that (i) are not materially related to the Business or (ii) are not
                          transferable to Purchaser under Applicable Law;
                      • the Excluded Books and Records;
                      • any assets not otherwise designated as Transferred Assets or from time to
                          time designated by the parties hereto as Excluded Assets;
                      • the Avoidance Actions;
                      • all of the Seller Group’s rights, claims or causes of action against third
                          parties relating to the assets, properties, business or operations of the
                          Seller Group (including all guaranties, warranties, indemnities and similar
                          rights in favor of the Sellers Group or any of their Affiliates) to the extent

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                               SUMMARY OF STALKING HORSE APA
                          arising under the Bankruptcy Code or relating to any of the Excluded
                          Assets or Excluded Liabilities, in each case, whether arising by way of
                          counterclaim or otherwise, and whether arising out of transactions
                          occurring prior to, on or after the Closing Date;
                      • all of the Seller Group’s right, title and interest to any the assets set forth
                          on Schedule 2.2(n) to the Stalking Horse APA; and
                      • all prepaid expenses, claims, deposits, prepayments, refunds, causes of
                          action, demands, actions, suits, rights of recovery, rights under
                          guarantees, warranties, indemnities and all similar rights against third
                          parties, rights of setoff and rights of recoupment, in each case, to the
                          extent exclusively related to or exclusively used in or held for use for the
                          Excluded Assets listed in the clauses above (APA § (a)-(m)).
 Assumed              The Purchaser is required to assume and agree to perform and discharge, when
 Liabilities          due, the following Assumed Liabilities:
                      • all Liabilities relating to the Transferred Assets, whether incurred or
 (Stalking Horse          arising prior to, at or after the Closing (other than those Liabilities relating
 APA, Section             to any breach, tort including any tort based on a failure to warn, failure to
 2.3(a))                  comply with law, failure to comply with industry standards, Nitrosamine
                          Liabilities, or other wrongful conduct);
                      • subject to Section 2.4 of the Stalking Horse APA, all Liabilities arising
                          under the Assigned Contracts, whether incurred or arising prior to, at or
                          after the Closing (other than those Liabilities relating to any breach, tort
                          including any tort based on a failure to warn, failure to comply with law,
                          failure to comply with industry standards, Nitrosamine Liabilities, or
                          other wrongful conduct), and all of the Determined Cure Costs;
                      • all Taxes for which Purchaser is liable pursuant to this Agreement;
                      • all accounts payable and other intercompany obligations of the Seller
                          Group to the extent related to the Business and arising following the
                          Petition Date; and
                      • other Liabilities that are listed on Schedule 2.3(d) to the Stalking Horse
                          APA.
 Excluded             Notwithstanding Section 2.3 of the Stalking Horse APA, Purchaser is
 Liabilities          assuming only the Assumed Liabilities of the Seller Group and will not
                      assume or be liable for any Excluded Liabilities (including Seller Group
 (Stalking Horse      Taxes), and the Seller Group shall retain and shall be responsible for, all
 APA, Section 2.4)    Liabilities of that are not Assumed Liabilities, including all Liabilities
                      related to Excluded Assets or any other liabilities of the Business (all such
                      Liabilities not being assumed herein referred to as the “Excluded
                      Liabilities”).

 Bid Protections     The Bid Protections consist of (i) a termination fee equal to $450,000 (i.e.
                     approximately 2.6% of the $17.5 million purchase price); and (ii) the
 (Stalking Horse     reimbursement from the Debtors of reasonable, documented out of pocket
 APA, Section 9.3)   fees, costs, and expenses of the Bid up to an amount equal to $300,000, in
                     each of (i) and (ii), as more fully set forth in the Stalking Horse APA.



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                              SUMMARY OF STALKING HORSE APA
                     For purposes of calculating the Break-Up Fee as a percentage of the Purchase
                     Price, the Purchase Price includes only the $17,500,000 upfront purchase
                     price and excludes any post-closing contingent consideration which likely has
                     significant option value.
 Termination         The Stalking Horse Agreement may be terminated and the Transactions may
 Events              be abandoned at any time prior to the Closing:
                     • by mutual written consent of Purchaser and Seller;
 (Stalking Horse     • automatically, upon (i) the consummation of a sale or other disposition of
 APA, Section 9.1)       all or substantially all of the Transferred Assets to a Person other than
                         Purchaser (each, an “Alternate Transaction”), (ii) if, at close of the
                         Auction, Purchaser’s bid has not been selected as either the winning bid
                         or the Back-Up Bid or (iii) if, at the close of the Auction, Purchaser’s bid
                         was selected as the Back-Up Bid, upon the consummation of a Competing
                         Bid or Alternative Transaction;
                     • by Purchaser or the Seller by written notice to Purchaser or the Seller from
                         the other, if the Bankruptcy Case is dismissed or converted to a case under
                         chapter 7 of the Bankruptcy Code;
                     • by Purchaser or the Seller by written notice to Purchaser or the Seller from
                         the other, if Purchaser is not selected as having the winning bid or Back-
                         Up Bid at Auction, if any;
                     • by Purchaser if the Seller (i) withdraws the motion for the Sale Order, or
                         publicly announces its intention to withdraw such motion, (ii) moves to
                         voluntarily dismiss the Bankruptcy Cases, (iii) moves for conversion of
                         the Bankruptcy Cases to Chapter 7 of the Bankruptcy Code, or (iv) moves
                         for appointment of an examiner with expanded powers pursuant to
                         Section 1104 of the Bankruptcy Code or a trustee in the Bankruptcy
                         Cases;
                     • by Purchaser, by written notice from Purchaser to the Seller, if there has
                         been a breach or inaccuracy of a covenant, representation or warranty
                         made by the Seller in this Agreement, such that the conditions in Section
                         8.1 or Section 8.2 of the Stalking Horse APA are not capable of being
                         satisfied and which breach is incapable of being cured or, if capable of
                         being cured, has not been cured by the Seller prior to the earlier of (i) 20
                         Business Days after receipt of written notice from Purchaser requesting
                         such breach be cured or (ii) the Outside Date; provided, however, that the
                         right to terminate the Stalking Horse APA pursuant to Section 9.1(f) of
                         the Stalking Horse APA shall not be available to Purchaser if the failure
                         of Purchaser to fulfill any of its obligations under this Agreement has been
                         the primary cause of, or resulted in, such breach, or if the conditions in
                         Section 8.1 or Section 8.3 of the Stalking Horse APA are not capable of
                         being satisfied because there is then a breach or inaccuracy of a covenant,
                         representation or warranty made by Purchaser in this Agreement;
                     • by the Seller, by written notice from the Seller to Purchaser, if there has
                         been a breach or inaccuracy of a covenant, representation or warranty
                         made by Purchaser in this Agreement, such that the conditions in Section
                         8.1 or Section 8.3 are not capable of being satisfied and which breach is
                         incapable of being cured or, if capable of being cured, has not been cured

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                                 SUMMARY OF STALKING HORSE APA
                            by Purchaser prior to the earlier of (i) 20 Business Days after receipt of
                            written notice from the Seller requesting such breach be cured or (ii) the
                            Outside Date; provided, however, that the right to terminate this
                            Agreement pursuant to Section 9.1(g) of the Stalking Horse APA shall
                            not be available to the Seller if the failure of the Seller to fulfill any of its
                            obligations under this Agreement has been the primary cause of, or
                            resulted in, such breach, or if the conditions in Section 8.1 or Section 8.31
                            of the Stalking Horse APA are not capable of being satisfied because there
                            is then a breach or inaccuracy of a covenant, representation or warranty
                            made by the Seller in of the Stalking Horse APA;
                        •   by Purchaser or the Seller, by written notice from Purchaser or the Seller
                            to the other, if any Governmental Authority of competent jurisdiction
                            shall have issued an Order, enacted any Applicable Law or taken any
                            other action restraining, enjoining or otherwise prohibiting the
                            consummation of the Transactions and, in the case of Orders and other
                            actions, such Order or other action shall have become Final Orders;
                            provided, however, that the right to terminate the Stalking Horse APA
                            pursuant to Section 9.1(h) of the Stalking Horse APA shall not be
                            available to the party seeking to terminate if any action of such party or
                            any failure of such party to act has contributed to such Order or other
                            action and such action or failure constitutes a breach of this Agreement;
                            or
                        •   by Purchaser or the Seller, by written notice from Purchaser or the Seller
                            to the other, if the Closing has not occurred on or prior to March 13, 2023
                            (the “Outside Date”); provided, however, that the party exercising the
                            right to terminate this Agreement pursuant to Section 9.1(i) of the Stalking
                            Horse APA shall not have been responsible for such failure of the Closing
                            to occur through a breach or inaccuracy of a covenant, representation or
                            warranty contained in this Agreement.
                        •   By Purchaser by written notice to the Seller if the Bankruptcy Court
                            does not approve the Bid Procedures Order without any material
                            modifications (other than such modifications reasonably acceptable to
                            Purchaser) to the protections to Purchaser set forth in Section 9.3(a) or
                            Section 9.3(b) of the Stalking Horse APA.

        28.     The Debtors submit that the purchase price agreed upon for the Assets in the

 Stalking Horse APA is the result of extensive, good-faith, arm’s-length negotiations, and is

 currently the highest and best proposal. The Debtors’ proposed entry into the Stalking Horse APA

 for the Assets is in the best interest of the Debtors’ estates and constitutes a good exercise of the

 Debtors’ business judgment. See Contractor Declaration Decl. ¶ 25.




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          29.      The Stalking Horse APA contains (a) a provision for expense reimbursement (the

 “Expense Reimbursement”) not to exceed $300,000 following the termination of the Stalking

 Horse APA under certain circumstances, and (b) the Break-Up Fee equal to $450,000, which

 equates to approximately 2.6% of the cash Purchase Price, 5 payable in the event that the Stalking

 Horse APA is terminated under certain circumstances and the Debtors consummate an alternative

 transaction. Id. ¶ 26. Based on the marketing process and arms’-length negotiations between the

 Debtors and the Stalking Horse Purchaser, the Debtors have determined that Bid Protections are

 necessary to retain the Stalking Horse Purchaser’s commitment to the consummation of the Sale

 Transaction. Id. ¶ 27–29. The Bid Protections, if earned, are deemed earned upon the occurrence

 of the specific events described in Sections 9.3(a) and 9.3(b) of the Stalking Horse APA.

 Additionally, for the avoidance of doubt, the Stalking Horse Purchaser shall not be required to

 include an amount in cash necessary to satisfy the Bid Protections as part of any Overbid (as

 defined in the Bid Procedures).

          30.      The Debtors have agreed that their obligation to pay the Bid Protections pursuant

 to the Stalking Horse APA shall, upon entry of the Bid Procedures Order, constitute an allowed

 superpriority administrative expense of the Debtors with priority over any and all administrative

 expenses of the kind specified in section 503(b) of the Bankruptcy Code.

                The Assumption and Assignment Procedures and Assignment Notice

          31.      The Debtors are seeking approval of the Assumption and Assignment Procedures

 attached to the Bid Procedures Order as Exhibit 4 in the event the Winning Bidder designates any

 contract or lease for assignment in the Winning Bid in accordance with the Bid Procedures. In




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   For purposes of calculating the Break-Up Fee as a percentage of the Purchase Price, the Purchase Price includes only
 the $17,500,000 upfront purchase price and excludes any post-closing contingent consideration.

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 such instance, the Assumption and Assignment Procedures (including service of the Assignment

 Notice) will notify the counterparties to any Designated Contracts of the intended assumption and

 assignment of their contracts and the Debtors’ calculation of any cure cost. The Debtors also

 request approval of the Assignment Notice, substantially in the form attached to the Bid Procedures

 Order as Exhibit 5.

                              Bid Procedures and Sale Motion Key Terms

           32.    In accordance with Sections 17 and 19 of the Complex Procedures, below is a chart

 highlighting the inclusion of certain key terms in the Motion, proposed Bid Procedures Order,

 proposed Sale Order, or other documents.

       RELEVANT COMPLEX                                    SUMMARY 6                        LOCATION IN
      PROCEDURES PROVISION                                                                  MOTION, BID
                                                                                            PROCEDURES,
                                                                                             OR ORDER
     Complex Procedures,              Section 10.6 of the Stalking Horse APA provides Stalking Horse
     Part E Section 17(c)             general releases effective as of the closing. Those APA § 10.16
                                      releases generally provide that the Seller and
     Releases, Exculpations and       Purchaser, upon closing, are provided irrevocable
     Indemnifications                 and unconditional releases for all claims, Actions,
                                      causes of action, suits, rights, agreements,
                                      Liabilities and demands whatsoever and all
                                      consequences thereof, known or unknown, actual
                                      or potential, suspected or unsuspected, fixed or
                                      contingent, both in law and in equity, whether
                                      existing as of the Closing or arising thereafter,
                                      that a Purchaser Releasing Party has or may have,
                                      now or in the future, arising out of, relating to, or
                                      resulting from any act or omission, error,
                                      negligence, breach of contract, tort, violation of
                                      law, matter or cause whatsoever from the
                                      beginning of time to the Closing Date.
     Complex Procedures,              The Stalking Horse APA provides for an Outside Stalking Horse
     Part E Section 17(e)             Date of March 13, 2024. The proposed order APA § 9.1(i)
                                      approving the Debtors’ use of their secured
                                      lenders’ cash collateral includes a milestone that

 6
   The summaries contained in herein are qualified in their entirety by the provision of the documents referenced. To
 the extent anything in this summary is inconsistent with such documents, the terms of the applicable documents shall
 control. Capitalized terms used in this summary chart but not otherwise defined have the meanings ascribed to them
 in the Motion, Bid Procedures Motion, or Proposed Sale Order, as applicable.

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 Closing and Other              the sale of the Debtors’ assets must be completed
 Deadlines                      by no later than February 14, 2024, and the
                                Debtors anticipate closing the sale by no later than
                                February 12, 2024
 Complex Procedures,            The Stalking Horse APA required the Stalking            Stalking Horse
 Part E Section 17(f)           Horse Purchaser to deposit $1,500,000 into the          APA recitals; §
                                Deposit Escrow Account upon execution of the            2.9
 Good Faith Deposit             Stalking Horse APA, which occurred on
                                December 18, 2023.                                      Bid Procedures
                                                                                        §X
                                The Bid Procedures contemplate that to be
                                deemed a Qualified Bid, a bid must be
                                accompanied by a cash deposit by wire transfer to
                                an escrow agent selected by the Debtors in an
                                amount equal to 2.6% of the bidder’s Proposed
                                Purchase Price. A defaulting Winning Bidder’s
                                or Back-Up Bidder’s Good Faith Deposit shall be
                                forfeited to the Debtors.

                                This provision was included to ensure the good
                                faith of prospective bidders.
 Complex Procedures,            Purchaser shall keep, for so long as required under     Stalking Horse
 Part E Section 17(i)           Purchaser’s internal records retention policies,        APA § 2.13(f)
                                books and records pertaining to the Product Net
 Record Retention               Sales of the Products with respect to each fiscal
                                year.
 Complex Procedures,            Avoidance Actions are Excluded Assets from the          Stalking Horse
 Part E Section 17(j)           Sale Transaction and shall be retained by the           APA § 2.2
                                Seller pursuant to Section 2.2 of the Stalking
 Sale of Avoidance Actions      Horse APA.
 Complex Procedures,            The Stalking Horse APA requires that the order of       Stalking Horse
 Part E Section 17(k)           this Court approving consummation of the                APA § 5.2
                                Stalking Horse APA shall provide that the sale is
 Requested Findings as to       free and clear of any successor liability, liens,
 Successor Liability            claims, end encumbrances, except for the
                                Assumed Liabilities set forth in the APA.

                                The Stalking Horse Purchaser would not have
                                entered into the Stalking Horse APA and would
                                not consummate the transactions contemplated
                                thereby if the Sale Transaction were not, except as
                                otherwise provided in the APA, free and clear of
                                all liens, claims, encumbrances, and successor
                                liability of any kind or nature whatsoever, or if the
                                Stalking Horse Purchaser were not free of all
                                successor liability with respect to Debtors’
                                liabilities, except as expressly assumed in the
                                APA.

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                                 Further, other Bidders may not make Qualified
                                 Bids for the Debtors’ assets or consummate the
                                 transactions contemplated thereby if the sale of
                                 the Assets to the Winning Bidder were not, except
                                 as otherwise provided in the purchase agreement
                                 for such bids, free and clear of all liens, claims, or
                                 encumbrances of any kind or nature whatsoever,
                                 or if the Winning Bidder were not free of all
                                 successor liability with respect to Debtors’
                                 liabilities, except as expressly assumed in the
                                 relevant asset purchase agreement.
 Complex Procedures,             The Debtors request that the Court enter an order        Motion ¶ 45;
 Part E Section 17(n)            providing that notice of the relief requested herein     Bid Procedures
                                 satisfies Bankruptcy Rule 6004(a) and that the           Order ¶ 18
 Relief from Bankruptcy Rule     Debtors have established cause to exclude such
 6004(h)                         relief from the fourteen-day stay period under
                                 Bankruptcy Rule 6004(h), which is necessary to
                                 implement the relief requested in this motion.
 Complex Procedures,             The Bid Protections consist of (i) a termination         Stalking Horse
 Part E Section 19(a)(ii)        fee equal to $450,000 (i.e. approximately 2.6% of        APA § 9.3; Bid
                                 the $17.5 million purchase price); and (ii) the          Procedures XI
 Break-Up/Topping Fees and       reimbursement from the Debtors of reasonable,
 Expense Reimbursement           documented out of pocket fees, costs, and
                                 expenses of the Bid up to an amount equal to
                                 $300,000, in each of (i) and (ii), as more fully set
                                 forth in the Stalking Horse APA. 30. The
                                 Debtors have agreed that their obligation to pay
                                 the Bid Protections pursuant to the Stalking Horse
                                 APA shall, upon entry of the Bid Procedures
                                 Order, constitute an allowed superpriority
                                 administrative expense of the Debtors with
                                 priority over any and all administrative expenses
                                 of the kind specified in section 503(b) of the
                                 Bankruptcy Code.
 Complex Procedures,             The Auction will begin at the Initial Highest Bid,       Bid Procedures
 Part E Section 19(a)(iii)       and each Qualified Bidder may submit subsequent          XII
                                 Bids for the Proposed Purchase Price in minimum
 Bidding Increments              overbid increments of at least $250,000 over the
                                 amount of the Proposed Purchase Price in the
                                 highest or otherwise best Bid at that time
 Complex Procedures,             If the Stalking Horse Bid is the Initial Highest         Bid Procedures
 Part E Section 19(a)(iv)        Bid, the initial overbid amount shall be also            §§ XI-XIII
                                 include an amount necessary, in the Debtors’
 Treatment of Break-Up and       determination, to satisfy the Stalking Horse
 Topping Fees and Expense        Purchaser’s Bid Protections in cash.
 Reimbursement at Auction


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                                The Stalking Horse Purchaser shall not be
                                required to include an amount in cash necessary
                                to satisfy the Bid Protections as part of any
                                Overbid.
 Complex Procedures,            A Qualified Bidder is one who submits a Bid Procedures
 Part E Section 19(b)           Qualified Bid, as defined in § IX of the Bid § IX
                                Procedures and summarized below.
 Provisions Governing
 Qualification of Bidders
 Complex Procedures,            The requirements of a Qualified Bid can be found       Bid Procedures
 Part E Section 19(c)           § IX of the Bid Procedures. By way of summary,         § IX
                                these the Bid Procedures required that a Bid, to be
 Provisions Governing           considered a Qualified Bid, must: (i) be submitted
 Qualified of Bids              timely; (ii) disclose the bidder’s identity and
                                include a delivery of an executed NDA;
                                (iii) propose a Sale Transaction for all the
                                Debtors’ assets or identify the assets to be a part
                                of the Bid; (iv) provide that the Qualified Bidder
                                is prepared to consummate the transaction
                                promptly following entry of the purchase and sale
                                agreement; (v) not be subject to any
                                contingencies, (vi) set forth each regulatory and
                                third-party approval required for the bidder to
                                consummate the proposed Sale Transaction;
                                (vii) include financial and other information
                                sufficient for the Debtors to make a reasonable
                                determination as to the bidder’s ability to
                                consummate the Sale Transaction; (viii) identify
                                any and all executory contracts and unexpired
                                leases to which the Debtors are a party that the
                                bidder wishes to have assumed and assigned in
                                connection with the Sale Transaction;
                                (ix) indicate whether the Bidder intends to hire all
                                or some of the employees who are employed
                                primarily in connection with the Assets subject to
                                the Sale Transaction; (x) include a written As-is,
                                Where-Is acknowledgement; (xi) state the
                                expected closing date; (xii) not request any bid
                                protections; and (xiii) include contact information
                                for specific person(s) the Debtors should contact
                                in the event they have questions regarding the
                                Bid.
 Complex Procedures,                     The Debtors reserve their rights to modify    Bid Procedures
 Part E Section 19(d)           these Bid Procedures in their business judgment,       XVI
                                subject to the consent of the Administrative
 Modification of Bidding and    Agent, not to be unreasonably withheld, and in
 Auction Procedures             consultation with the Committee, if any, in any
                                manner that will best promote the goals of these

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                                Bid Procedures or impose additional customary
                                terms and conditions on the Sale, including
                                extending the deadlines set forth herein,
                                adjourning the Auction or the Sale Hearing,
                                adding procedural rules that are reasonably
                                necessary or advisable under the circumstances to
                                conduct the Auction, cancelling the Auction, and
                                rejecting any or all Bids or Qualified Bids.
 Complex Procedures,            If, for any reason, a Winning Bidder fails to timely Bid Procedures
 Part E Section 19(e)           consummate the purchase of the Assets, the § XIV
                                Debtors, in consultation with the Committee, if
 Closing with Alternative       any, and with the Administrative Agent’s consent,
 Backup Bidders                 not to be unreasonably withheld, may seek to
                                consummate a Sale to the Backup Bidder in
                                accordance with the terms of the Backup Bid and
                                pursuant to the Proposed APA associated
                                therewith without further approval by the Court
                                (in which case the Backup Bidder shall be deemed
                                the Winning Bidder).

                                The Backup Bid(s) and the obligation of the
                                Backup Bidder(s) to consummate the purchase of
                                the Assets shall remain open and in full force,
                                including with respect to the Backup Bidder’s
                                Good Faith Deposit, until the earlier of (a) the
                                closing of a Sale of the Assets to a Winning
                                Bidder or Backup Bidder or (b) 45 days after the
                                conclusion of the Auction (or, if no Auction is
                                held, 45 days after the date on which the Debtors
                                file a notice of cancellation of Auction).
 Complex Procedures,            If the Debtors receive more than one timely Bid Procedures
 Part E Section 19(f)           Qualified Bid, the Debtors shall conduct an XIII
                                auction (the “Auction”) at 9:00 A.M. (prevailing
 Provisions Governing the       Central Time) on [January 29, 2024] (which
 Auction                        date may be modified by the Debtors in their
                                business judgment with the consent of the
                                Administrative Agent) virtually or at such other
                                place as agreed by the Debtors, the Administrative
                                Agent, and Committee, or approved by order of
                                the Court, and of which the Debtors will notify the
                                Auction Participants.

                                Each Qualified Bidder will be required to confirm
                                on the record at the Auction that (a) it has not
                                engaged in any collusion with respect to the
                                bidding or Sale and (b) its Qualified Bid and any
                                subsequent Bid, is a good-faith bona fide offer



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                                  and it intends to consummate the proposed sale if
                                  selected as a Winning Bidder.

                                            Basis for Relief

 I.     The Bid Procedures Are Fair, Designed to Maximize the Value Received for the
        Assets, and Are Consistent with the Debtors’ Reasonable Business Judgment.

        33.     Bankruptcy Code section 363 and Bankruptcy Rule 6004(f)(1) authorize a debtor

 to sell property outside the ordinary course of business by private sale or by auction. Bankruptcy

 Code section 363(b) provides that “[t]he [debtor in possession], after notice and a hearing, may

 use, sell or lease, other than in the ordinary course of business, property of the estate . . . .” 11

 U.S.C. § 363(b)(1). Bankruptcy Code section 105(a) empowers bankruptcy courts to “issue any

 order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

 11 U.S.C. § 105(a).

        34.     The procedures used in selling estate assets are subject to the debtor’s business

 judgment, which is entitled to substantial deference, as long as the debtor articulates an adequate

 business justification. See, e.g., In re Cont’l Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986)

 (“[F]or a debtor-in-possession or trustee to satisfy its fiduciary duty to the debtor, creditors and

 equity holders, there must be some articulated business justification for using, selling, or leasing

 the property outside of the ordinary course of business.”); In re Asarco, L.L.C., 650 F.3d 593, 601

 (5th Cir. 2011) aff’g 441 B.R. 813, 824 (S.D. Tex. 2010) (“Section 363 of the Bankruptcy Code

 addresses the debtor’s use of property of the estate and incorporates a business judgment

 standard.”).

        35.     The paramount goal in any proposed sale of property of the estate is to maximize

 the proceeds received by the estate. See, e.g., In re Bigler, LP, 443 B.R. 101, 115 (Bankr. S.D.

 Tex. 2010). Courts uniformly recognize that procedures intended to enhance competitive bidding

 are consistent with the goal of maximizing the value received by the estate and therefore are

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 appropriate in the context of bankruptcy transactions. See, e.g., In re Integrated Res., Inc., 147

 B.R. 650, 659 (S.D.N.Y. 1992) (bid procedures “are important tools to encourage bidding and to

 maximize the value of the debtor’s assets”).

        36.     The Debtors carefully designed the Bid Procedures to attract active bidding from

 potential purchasers and to maximize the sale value for the Assets in the current market, based on

 the Debtors’ advisors’ experience with similar sales. The Debtors developed the Bid Procedures

 to allow the Debtors to solicit offers and conduct a sale in a controlled, fair, and open fashion that

 will encourage participation by financially capable bidders.

        37.     The Bid Procedures provide the Debtors with an opportunity to consider competing

 bids and select the highest or otherwise best offers for the completion of the sale. All creditors can

 be assured that the consideration obtained will be fair and reasonable, and at or above market. The

 Bid Procedures will maximize the value of the Assets and are appropriate under the relevant

 standards governing auction proceedings and bidding incentives in bankruptcy proceedings. The

 Bid Procedures should be approved.

 II.    The Court Should Authorize Entry into the Stalking Horse APA and Approve the
        Bid Protections.

        38.     The Debtors seek authority to pay the Bid Protections included in the Stalking

 Horse APA to the Stalking Horse Purchaser in the event such obligations are triggered in

 accordance with the terms of the Stalking Horse APA. Courts have acknowledged that the

 approval of expenses in connection with sales under section 363 of the Bankruptcy Code can be

 warranted to compensate an unsuccessful acquirer whose initial offer served as the basis and

 catalyst for higher and better offers. See In re ASARCO, 650 F.3d at 593, 597-98, 601-03 & n.9.

 To warrant court approval of expenses, the Fifth Circuit requires a showing that the requested fees

 and expenses must be supported by a sound business justification. Id. at 593, 602-03 (favoring


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 business judgment standard governing use of assets outside the ordinary course of business, rather

 than the standard for administrative expenses, in assessing propriety of fees and expenses incurred

 by bidders).

        39.     Here, the Bid Protections are a product of extensive arm’s-length, good faith

 negotiations in connections with the Stalking Horse APA. Under the terms of the Stalking Horse

 APA, the Break-Up Fee is $450,000 and the Expense Reimbursement will not exceed $300,000.

 This is consistent with bid protections of similar stalking horse agreements commonly observed

 and approved in complex chapter 11 cases. Given the size and complexity of the transaction and

 the amount of work required by the Stalking Horse Purchaser, the Bid Protections are fair,

 reasonable, and appropriate.

        40.     The Bid Protections are necessary to induce the Stalking Horse Purchaser to engage

 in diligence review and serve as the stalking horse. Indeed, the Debtors’ failure to obtain approval

 of the Bid Protections will entitle the Stalking Horse Purchaser to terminate the Stalking Horse

 APA. In such event, the Debtors will lose the benefit of a committed and fair purchase price for

 the Assets as well as risk losing the ability to maximize the value of its estates and pursue an

 orderly wind-down process.

        41.     The Debtors request this Court to authorize entry into the Stalking Horse APA and,

 pursuant to the proposed Bid Protections Order, approve the Bid Protections included therein.

 III.   The Form and Manner of the Sale Notice Should Be Approved.

        42.     Bankruptcy Rules 2002(a)(2) and 2002(i) generally require a debtor to provide

 creditors with a minimum of 21-days’ notice of a proposed sale of property outside the ordinary

 course of business under Bankruptcy Code section 363(b)(1) by mail to “the debtor, the trustee, all

 creditors and indenture trustees” and any committee appointed under Bankruptcy Code

 section 1102. Bankruptcy Rule 2002(c) requires any such notice to include the time and place of
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 the auction, the hearing, and the deadline for filing any objections to the relief requested. Courts

 are authorized to limit notice of a proposed sale to the United States Trustee, any official committee

 appointed under Bankruptcy Code 1102, and any other creditor or equity holder who requests

 notice.

           43.   The Debtors seek approval of the Sale Notice as proper and sufficient notice of the

 Auction, the Sale Hearing, and the deadline to object to the Sale. Notice of this Motion and the

 related hearing to consider entry of the Bid Procedures Order, coupled with service of the Sale

 Notice, constitutes good and adequate notice of the Auction and the related proceedings in

 compliance with, and satisfaction of, the applicable requirements of Bankruptcy Rule 2002.

 IV.       The Assumption and Assignment Procedures and the Assignment of Any
           Designated Contracts Should Be Approved.

           44.   Bankruptcy Code section 365(a) provides that a debtor-in-possession “subject to

 the court’s approval, may assume or reject any executory contract or unexpired lease of the

 debtor.” 11 U.S.C. § 365(a). The standard governing approval of a debtor’s decision to assume

 or reject an executory contract is whether the debtor’s reasonable business judgment supports

 assumption or rejection. Mirant Corp. v. Potomac Electric Power Co. (In re Mirant Corp.), 378

 F.3d 511, 524-25 & n.5 (5th 2004). Under the business judgment test, a court should approve a

 debtor’s proposed assumption if such assumption will benefit the estate. In re Food City, Inc., 94

 B.R. 91, 93-94 (Bankr. W.D. Tex. 1988).

           45.   The Assumption and Assignment Procedures are reasonable under the

 circumstances and are necessary to notify parties to Designated Contracts of the assumption and

 assignment of their contract, the related proposed cure amount, and the Winning Bidder’s adequate

 assurance of future performance. The Debtors will be prepared to demonstrate at the Sale Hearing

 that the requirements for assumption and assignment of any Designated Contracts to a Winning


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 Bidder will be satisfied. The Debtors will evaluate the financial wherewithal of potential bidders

 before designating such party a Qualified Bidder or Winning Bidder, including as it relates to such

 Qualified Bidder’s willingness and ability to perform under the Designated Contracts.

        46.     The Assumption and Assignment Procedures provide the Court and other interested

 parties opportunity to evaluate and, if necessary, challenge the ability of a Winning Bidder to

 provide adequate assurance of future performance and object to the assumption of the

 Designated Contracts or proposed cure amounts. The Court will have a sufficient basis to

 authorize the Debtors to assume and assign the Designated Contracts as set forth in the definitive

 agreement of a Winning Bidder.

        47.     The Assumption and Assignment Procedures, including the form and manner of the

 Assignment Notice, should be approved as reasonable and necessary measures to adequately notify

 parties in interest and assume and assign Designated Contracts in a fair, efficient, and proper

 manner.

 V.     The Assets May Be Sold Free and Clear of Liens, Claims, Interests and
        Encumbrances under Bankruptcy Code Section 363(f).

        48.     Bankruptcy Code section 363(f) authorizes a debtor to sell assets free and clear of

 all liens, claims, interests and encumbrances provided that one of the following conditions is met:

                a.     applicable non-bankruptcy law permits sale of such property free and clear
                       of such interests;

                b.     such entity consents;

                c.     such interest is a lien and the price at which such property is to be sold is
                       greater than the aggregate value of all liens on such property;

                d.     such interest is in bona fide dispute; or

                e.     such entity could be compelled, in a legal or equitable proceeding, to accept
                       a money satisfaction of such interest.



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 11 U.S.C. § 363(f). This provision is supplemented by Bankruptcy Code section 105(a), which

 provides that “[t]he Court may issue any order, process or judgment that is necessary or appropriate

 to carry out the provisions of the [Bankruptcy Code].” 11 U.S.C. § 105(a).

           49.   Because Bankruptcy Code section 363(f) is drafted in the disjunctive, satisfaction

 of any one of its five requirements will suffice to permit the sale of the Assets free and clear of the

 interests. In re Nature Leisure Times, LLC, No. 06-41357, 2007 WL 4554276, at *3 (Bankr. E.D.

 Tex. Dec. 19, 2007). The Debtors anticipate satisfying one or more of the conditions under section

 363(f).

           50.   To the extent that the Court finds that the Sale satisfies section 363(f), the Debtors

 request that the Court also hold that the Sale is free and clear of successor liability relating to the

 Debtors’ business. The purpose of a free and clear sale under section 363(f) would be frustrated if

 claimants could thereafter assert claims arising from the debtors’ pre-sale conduct against the

 eventual purchaser. The absence of such assurance may chill bidding or result in reduced bids.

 VI.       Credit Bidding Should Be Authorized Under Bankruptcy Code Section 363(k)

           51.   A secured creditor is allowed to “credit bid” the amount of its claim in a sale.

 Bankruptcy Code section 363(k) provides, in relevant part, that unless the court for cause orders

 otherwise for cause, the holder of a claim secured by property that is the subject of the sale

 “may bid at such sale, and, if the holder of such claim purchases such property, such holder may

 offset such claim against the purchase price of such property.” 11 U.S.C. § 363(k). Even if a

 secured creditor is undersecured as determined in accordance with Bankruptcy Code section

 506(a), section 363(k) allows such secured creditor to bid the total face value of its claim and does

 not limit the credit bid to the claim’s economic value. See In re Submicron Sys. Corp., 432 F.3d

 448, 459-60 (3d Cir. 2006).



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        52.     The Bid Procedures provide that Secured Creditors have the right to credit bid all

 or any portion of the Secured Creditor’s claim on a dollar-for-dollar basis pursuant to section

 363(k) with respect to the collateral by which such Secured Creditor is secured; provided, however,

 that any credit bid must include a cash component equal to or exceeding the amount of the Bid

 Protections. A credit bid is permitted only to the extent such credit bid is permitted the Bankruptcy

 Code and nonbankruptcy law.

 VII.   The Winning Bidder Should be Entitled to the Protections of Bankruptcy Code
        Section 363(m)

        53.     Pursuant to Bankruptcy Code section 363(m), a good faith purchaser is one who

 purchases assets for value, in good faith, and without notice of adverse claims. TMT Procurement

 Corp. v. Vantage Drilling Co. (In re TMT Procurement Corp.), 764 F.3d 512, 521 (5th Cir. 2014).

 If the Debtors seek to consummate a Sale pursuant to a Winning Bid obtained through the Bid

 Procedures, such Sale will have been negotiated at arm’s length or through a fair and open auction

 process. The Debtors request that the Sale Order include a provision that the Winning Bidder for

 the Assets is a “good faith” purchaser within the meaning of Bankruptcy Code section 363(m).

 Providing the Winning Bidder with such protection will ensure that the maximum price will be

 received by the Debtors for the Assets and the Sale closing will occur promptly.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

        54.     The Debtors request that the Court enter an order providing that notice of the relief

 requested herein satisfies Bankruptcy Rule 6004(a) and that the Debtors have established cause to

 exclude such relief from the fourteen-day stay period under Bankruptcy Rule 6004(h), which is

 necessary to implement the relief requested in this motion.




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                                        Reservation of Rights

        55.     Nothing contained herein or any action taken pursuant to relief requested is

 intended to be or shall be construed as (a) an admission as to the amount of, basis for, or validity

 of any claim against a Debtor entity under the Bankruptcy Code or other applicable nonbankruptcy

 law; (b) a waiver of the Debtors’ or any party in interest’s rights to dispute any claim or interest

 on any grounds; (c) a promise or requirement to pay any claim; (d) a waiver of the Debtors’ or any

 other party in interest’s rights under the Bankruptcy Code or any other applicable law; (e) an

 implication or admission that any particular claim is of a type specified or defined in this motion

 or any order granting the relief requested in this motion or a finding that any particular claim is an

 administrative expense claim or other priority claim; (f) a request for or approval to assume, adopt,

 or reject any agreement, contract, program, policy, or lease under section 365 of the Bankruptcy

 Code; or (g) an admission as to the validity, priority, enforceability, or perfection of any lien on,

 security interest in, or other encumbrance on property of the Debtors’ estates. Likewise, if the

 Court grants the relief sought herein, any payment made pursuant to the Court’s order is not

 intended to be and should not be construed as an admission to the validity of any claim or a waiver

 of the Debtors’ or any party in interest’s rights to subsequently dispute such claim.

                                                Notice

        56.     The Debtors will provide notice of this motion to the following: (a) the U.S. Trustee

 for the Northern District of Texas; (b) the holders of the thirty (30) largest unsecured claims against

 the Debtors (on a consolidated basis); (c) Oaktree Fund Administration, LLC as agent to the

 Debtors’ secured lenders, and counsel thereto; (d) the United States Attorney’s Office for the

 Northern District of Texas; (e) the Food and Drug Administration; (f) the Internal Revenue

 Service; (g) the United States Securities and Exchange Commission; (h) the state attorneys general

 for states in which Debtors conduct business; and (i) any party that has requested notice pursuant

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 to Bankruptcy Rule 2002 and Bankruptcy Local Rule 9013-1(d). No other or further notice is

 needed in light of the nature of the relief requested.



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        The Debtors request entry of the Order, granting the relief requested herein and granting

 such other relief as the Court deems appropriate under the circumstances.

  Dated: December 20, 2023
  Dallas, Texas                                      SIDLEY AUSTIN LLP

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                                                     Proposed Counsel to the Debtors and Debtors in
                                                     Possession




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                                       Certificate of Service

         I certify that on December 20, 2023, I caused a copy of the foregoing document to be served
 by the Electronic Case Filing System for the United States Bankruptcy Court for the Northern
 District of Texas.

                                                                 /s/ Rakhee V. Patel
                                                                 Rakhee V. Patel
